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               EXHIBIT 1
              Security Video Timeline
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                  SECURITY VIDEO TIMELINE


11/15/2020 Start date of video produced to Plaintiff (Doc. 1-17 at 7)


02/19/2021 Hampton timesheets are finalized for period 11/15/20
           through 02/19/21, based on video security tape for period
           11/30/20-02/26/21—far longer than the 60-day overwriting
           period. (Doc. 75-8) Wesley Vickers performed the video
           review for the timesheets. (Doc.75-7, Tr pgs. 170-171)


02/25/2021 The 103-day old video is available for review by Board
           during meeting to terminate Misty Hampton and Jill
           Ridlehoover.


02/26/2021 Ending date of video produced to Plaintiff. (02/26/21 is one
           day after Hampton termination.) (Doc. 1-17 at7)


03/2021     Paulk requests the exterior video (Doc.75-10 at 9)


04/2021     Video is supplied to Paulk (Exh. 2) (also referenced at 1-17
            at 6) (Marks Decl. 75-4, pp.8,12) (Doc. 75-10 at 4-5)


05/2021     SOS begins to investigate whether CyberNinjas visited
            Coffee and SOS asks for video. SOS is told that tapes no
            longer exist. (Exh. 4; Sterling Tr. pp. 74:21-76:23, 80:12-
            85:10, 97:17-100:1, 110:16-112:11, and 114:15-19)


07/15/2021 Coffee prepares video for Hampton (Doc. 75-10 at 2) and
           notifies her (Doc. 75-6 at 3); (Exh. 3)

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03/2022      Coffee represents to Marks that video does not exist (Doc.
             1-3 at 3)


08/01/2022 Coffee represents to all plaintiffs the video does not exist
           (Doc 1-17, p. 6, last three paragraphs; Doc. 75-1 in
           numerous responses including #1, #2, #5; and Doc. 75-2
           numerous responses)


08/2022      Coffee finds video for GBI.       (Doc. 1-17 at 6, last 3
             paragraphs)


08/27/2022 Coffee finds exterior video for plaintiffs. (Doc. 1-17 at 6,
           last 3 paragraphs)


09/16/2022 Coffee finds interior video for Plaintiffs. (Doc. 1-17 at 6-7)




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